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PHILLlP L ANDERSON U'S- CO
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UNITEI) sTATES I)ISTRICT COURT
DISTRICT oF IDAHG EASTERN DlvlsloN
)
PHILLIP L. ANDERsoN )
Plaintif’f, ) Case No.
)
_v_ )
)
)
MAVERICK FINANCIAL SERVICES, )
Et Alt ) TRIAL BY JURY DEMANDED
SECURITY FINANCE, Ec Alc )
)
Defendant(s). )
)
)
M

Plaintiff, Phillip L. Anderson, individual]y, hereby sues Defendant(S), MAVERICK
FINANCIAL Corp (MAVERICK), and SECURlTY FINANCE (SECURITY) for violations of
the Telephone Consumer Protection Act (TCPA) Sec. 227., 47 USC § 227(b)(l), 47 USC §

227(3) (iii).

PRELIMINARY STA'I`EMENT
'1. This is an action for damages and injunctive relief brought by Plaintiff against
Defendants for violations of the Telephone Consumer Protection Act (TCPA) Sec. 227.,

47 USC § 227(b)(1), 47 USC § zzv(a) (iii).

 

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. Upon belief and information, Plaintiff contends that many of these practices are
Widespread for some or all of the Defendants. Plaintiff intends to propound discovery to
Defendants identifying these other individuals who have suffered similar violations

. Plaintiff contends that the Collection Company Defendant have violated such laws by

repeatedly harassing Plaintiff in attempts to collect alleged but nonexistent debt.

JURISDICTION AND VENUE
. Jurisdiction of this Court arises under 47 U.S.C. §227(b)(3), and supplemental
jurisdiction exists for the state law claims pursuant to 28 U.S.C. §1367.
. Venue is proper pursuant to 28 U.S.C. §1391b. Venue in this District is proper in that the
Plaintiff resides here, the Defendants transact business here, and the conduct complained
of occurred here.
. This is an action for damages which exceed $10,000.00.
PARTIES
. Plaintiff, Phillip L. Anderson, is a natural person and is a resident of the State of Idaho.
a. Upon information and belief Defendant, MAVERICK FINANCIAL, CORP.

(“MAVERICK”) is a Utah corporation, authorized to do business in Idaho.
. Upon information and belief Defendant, SECURITY FINANCIAL CORPORATION of
SC. (“SECURITY”) is a foreign corporation, authorized to do business in ldaho.

FA CTUAL ALLEGA TIONS

. From January 12, thru April 26, 2012, MAVER]CK violated the TCPA by calling
Plaintiff’s cell phone 7 times With no prior permission by Plaintiff.

a) January 12, 2012 received call from an employee of Maverick asking me to call a
member of my family an have them call them.

 

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b)

s)

January 16, 2012 received call nom an employee of Maverick asking me to call a
member of my family an have them call them.

January 30, 2012 received call nom an employee of Maverick asking me to call a
member of my family an have them call them.

February 9, 2012 received call from an employee of Maverick asking me to call a
member of my family an have them call them.

April 11, 2012 received call from an employee of Maverick asking me to call a
member of my family an have them call them.

April 19, 2012 received call Hom an employee of Maverick asking me to ca11 a
member of my family an have them call them.

April 26, 2012 received call from an employee of Maverick asking me to call a
member of my family an have them call them.

COUN'I` I
VIOLATIONS OF THE TELEPHONE
COMMUNICATIONS AC'I`47 U.S.C. §227

10. Plaintiff alleges and incorporates the information in paragraphs l through 9.

Defendant MAVERICK has demonstrated willful or knowing non-compliance with 47

U.S.C. §227(b)(1)(A) by using an automatic telephone dialing system to call the

Plaintiff’s number, which is assigned to a cellular telephone service.

11. Defendant MAVERICK has committed 7 separate violations of 47 U.S.C. §227(b)(1)(A)

and Plaintiff is entitled to damages of $1000 per violation pursuant to 47 U.S.C.

§227(b)(3)(B).
12. Defendant MAVERICK has demonstrated willful or knowing non-compliance with 47

U.S.C. §227(b)(1)(A) by calling the Plaintist number, which is assigned to a cellular

telephone service. The Plaintiff has never given MAVERICK permission to call Plaintiffs

 

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cell phone. Plaintiff is entitled to damages of $1000 per violation pursuant to 47 U.S.C.
§227(b)(3)(B). Plaintiff and MAVERICK do not have an established business
relationship within the meaning of 47 U.S.C. §227.

WHEREFORE, Plaintiff demands judgment for damages against MAVERICK, and
SECURITY for actual or statutory damages, and punitive damages, attorney's fees and

COS[S.

DEMAND FOR JURY 'I`R]AL
Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.

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Res ectfully submitted this / of September, 2012

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